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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

                                            :
Alsey Williams,                             :
                                              Civil Action No.: 3:11-cv-00659-JBA
                                            :
                     Plaintiff,             :
      v.                                    :
                                            :
                                              FIRST AMENDED COMPLAINT
Collection Technology, Inc.; and            :
DOES 1-10, inclusive,                       :
                                            :
                                              May 16, 2011
                     Defendants.            :
                                            :


      For this Complaint, the Plaintiff, Alsey Williams, by undersigned counsel,

states as follows:


                                    JURISDICTION

      1.      This action arises out of Defendants’ repeated violations of the Fair

Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the

invasions of Plaintiff’s personal privacy by the Defendants and their agents in

their illegal efforts to collect a consumer debt.

      2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

      3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in

that the Defendants transact business in this District and a substantial portion of

the acts giving rise to this action occurred in this District.


                                       PARTIES

      4.      The Plaintiff, Alsey Williams (“Plaintiff”), is an adult individual

residing in Meriden, Connecticut, and is a “consumer” as the term is defined by

15 U.S.C. § 1692a(3).
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      5.       Defendant Collection Technology, Inc. (“CTI”), is a California

business entity with an address of 1200 Corporate Center Drive, Suite 325,

Monterey Park, California 91754, operating as a collection agency, and is a “debt

collector” as the term is defined by 15 U.S.C. § 1692a(6).

      6.       Does 1-10 (the “Collectors”) are individual collectors employed by

CTI and whose identities are currently unknown to the Plaintiff. One or more of

the Collectors may be joined as parties once their identities are disclosed

through discovery.

      7.       CTI at all times acted by and through one or more of the Collectors.


                    ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt


      8.       Plaintiff incurred a financial obligation (the “Debt”) to a creditor (the

“Creditor”).

      9.       The Debt arose from services provided by the Creditor which were

primarily for family, personal or household purposes and which meets the

definition of a “debt” under 15 U.S.C. § 1692a(5).

      10.      The Debt was purchased, assigned or transferred to CTI for

collection, or CTI was employed by the Creditor to collect the Debt.

      11.      The Defendants attempted to collect the Debt and, as such, engaged

in “communications” as defined in 15 U.S.C. § 1692a(2).


   B. CTI Engages in Harassment and Abusive Tactics


      12.      Defendants called Plaintiff’s cellular phone line and threatened to

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garnish Plaintiff’s wages.

       13.    Defendants failed to inform Plaintiff that the communication was an

attempt to collect a debt and everything Plaintiff said would be used for that

purpose.

       14.    Defendants contacted Plaintiff’s current and former co-workers and

disclosed that Plaintiff owed debt.

       15.    Defendants called Plaintiff’s place of employment five (5) times a

day.

       16.    Defendants failed to inform Plaintiff of his rights under the state and

federal laws by written correspondence within 5 days after the initial

communication, including the right to dispute the Debt.


   C. Plaintiff Suffered Actual Damages


       17.    The Plaintiff has suffered and continues to suffer actual damages as

a result of the Defendants’ unlawful conduct.

       18.    As a direct consequence of the Defendants’ acts, practices and

conduct, the Plaintiff suffered and continues to suffer from humiliation, anger,

anxiety, emotional distress, fear, frustration and embarrassment.


                                       COUNT I

               VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

       19.    The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.

       20.    The Defendants’ conduct violated 15 U.S.C. § 1692b(1) in that


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Defendants contacted third parties and failed to identify themselves and further

failed to confirm or correct location information.

      21.    The Defendants’ conduct violated 15 U.S.C. § 1692b(2) in that

Defendants informed third parties of the nature of Plaintiff’s debt and stated that

the Plaintiff owed a debt.

      22.    The Defendants’ conduct violated 15 U.S.C. § 1692c(a)(1) in that

Defendants contacted the Plaintiff at a place and during a time known to be

inconvenient for the Plaintiff.

      23.    The Defendants’ conduct violated 15 U.S.C. § 1692c(a)(3) in that

Defendants contacted the Plaintiff at his place of employment, knowing that the

Plaintiff’s employer prohibited such communications.

      24.    The Defendants’ conduct violated 15 U.S.C. § 1692c(b) in that

Defendants communicated with individuals other than the Plaintiff, the Plaintiff’s

attorney, or a credit bureau.

      25.    The Defendants’ conduct violated 15 U.S.C. § 1692d(5) in that

Defendants caused a phone to ring repeatedly and engaged the Plaintiff in

telephone conversations, with the intent to annoy and harass.

      26.    The Defendants’ conduct violated 15 U.S.C. § 1692e(4) in that

Defendants threatened the Plaintiff with garnishment if the Debt was not paid.

      27.    The Defendants’ conduct violated 15 U.S.C. § 1692e(10) in that

Defendants employed false and deceptive means to collect a debt.

      28.    The Defendants’ conduct violated 15 U.S.C. § 1692e(11) in that

Defendants failed to inform the consumer that the communication was an attempt



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to collect a debt.

      29.     The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(1) in that

Defendants failed to send the Plaintiff a validation notice stating the amount of

the Debt.

      30.     The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(2) in that

Defendants failed to send the Plaintiff a validation notice stating the name of the

original creditor to whom the Debt was owed.

      31.     The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(3) in that

Defendants failed to send the Plaintiff a validation notice stating the Plaintiff’s

right to dispute the Debt within thirty days.

      32.     The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(4) in that

Defendants failed to send the Plaintiff a validation notice informing the Plaintiff of

a right to have verification and judgment mailed to the Plaintiff.

      33.     The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(5) in that

Defendants failed to send the Plaintiff a validation notice containing the name and

address of the original creditor.

      34.     The foregoing acts and omissions of the Defendants constitute

numerous and multiple violations of the FDCPA, including every one of the

above-cited provisions.

      35.     The Plaintiff is entitled to damages as a result of Defendants'

violations.




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                                       COUNT II

             INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

      36.     The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.

      37.     The Restatement of Torts, Second, § 652(b) defines intrusion upon

seclusion as, “One who intentionally intrudes…upon the solitude or seclusion of

another, or his private affairs or concerns, is subject to liability to the other for

invasion of privacy, if the intrusion would be highly offensive to a reasonable

person.”

      38.     Connecticut further recognizes the Plaintiff’s right to be free from

invasions of privacy, thus the Defendants violated Connecticut state law.

      39.     The Defendants intentionally intruded upon Plaintiff’s right to privacy

by continually harassing the Plaintiff with phone calls to her home.

      40.     The telephone calls made by the Defendants to the Plaintiffs were so

persistent and repeated with such frequency as to be considered, “hounding the

plaintiff,” and, “a substantial burden to her existence,” thus satisfying the

Restatement of Torts, Second, § 652(b) requirement for an invasion of privacy.

      41.     The conduct of the Defendants in engaging in the illegal collection

activities resulted in multiple invasions of privacy in such a way as would be

considered highly offensive to a reasonable person.

      42.     As a result of the intrusions and invasions, the Plaintiff is entitled to

actual damages in an amount to be determined at trial from the Defendants.

      43.     All acts of the Defendants and its agents were committed with

malice, intent, wantonness, and recklessness, and as such, the Defendants is

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subject to punitive damages.


                                      COUNT III

     VIOLATIONS OF THE CONNECTICUT UNFAIR TRADE PRACTICES ACT,
                    Conn. Gen. Stat. § 42-110a, et seq.

      44.     The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.

      45.     The Defendants are each individually a “person” as defined by Conn.

Gen. Stat. § 42-110a(3).

      46.     The Defendants engaged in unfair and deceptive acts and practices

in the conduct of its trade, in violation of Conn. Gen. Stat. § 42-110b(a).

      47.     The Plaintiff is entitled to damages as a result of the Defendants’

violations.


                                PRAYER FOR RELIEF

      WHEREFORE, the Plaintiff prays that judgment be entered against the

Defendants:

                 1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the

                    Defendants;

                 2. Statutory damages of $1,000.00 pursuant to 15 U.S.C.

                    §1692k(a)(2)(A) against the Defendants;

                 3. Costs of litigation and reasonable attorney’s fees pursuant to 15

                    U.S.C. § 1692k(a)(3) against the Defendants;

                 4. Actual damages pursuant to Conn. Gen. Stat. § 42-110g;




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              5. Actual damages from the Defendants for the all damages

                 including emotional distress suffered as a result of the

                 intentional, reckless, and/or negligent FDCPA violations and

                 intentional, reckless, and/or negligent invasions of privacy in an

                 amount to be determined at trial for the Plaintiff;

              6. Punitive damages; and

              7. Such other and further relief as may be just and proper.

                 TRIAL BY JURY DEMANDED ON ALL COUNTS


Dated: May 16, 2011

                                     Respectfully submitted,

                                     By _/s/ Sergei Lemberg

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